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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
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							Recent News &amp; Reports		
					
				12/7/16 – Gov. Nathan Deal swore in three new justices to the Supreme Court of Georgia.
						
					
				12/6/16 – SALLIE DENIED STAY OF EXECUTION
						
					
				11/30/16 – JUDGE WYNNE TO HEAR GEORGIA SUPREME COURT CASE
						
				
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